                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MINNESOTA

 UNITED STATES OF AMERICA,
                                                   Case No. 24-cr-0072-PJS-LIB
                   Plaintiff,
                                                   MOTION TO SEAL THE
                   v.                              UNREDACTED INDICTMENT AND
                                                   MEMORANDUM OF LAW
 JERRY HAL SALITERMAN,

                   Defendant.


       The United States of America, by Mac Schneider, United States Attorney for the

District of North Dakota, and Matthew D. Greenley, Assistant United States Attorney,

acting under authority conferred by 28 U.S.C. § 515, moves the Court for an Order to

indefinitely seal the Indictment, Doc. No. 1 (“sealed Indictment”). The United States

makes this motion to protect the dignity and privacy of the witness who was named as

the target of the tampering alleged in Count Two of the Indictment. On March 15, 2024,

the United States filed a redacted Indictment, Doc. No. 8 (“redacted Indictment”), which

is identical to the sealed Indictment, except that the witness’s name in Count Two has

been redacted. The Defendant has received a copy of the sealed Indictment which

identifies the witness by name.

       During the Defendant’s first appearance, the Honorable Elizabeth Cowan Wright

ordered the undersigned to file a written motion addressing the basis for sealing the

Indictment. A party may move to seal a document under Local Rule 49.1(d). Local Rule

49.1(d) requires the party to (i) identify the document filed under temporary seal; (ii)
explain why the document should remain under seal; (iii) address whether the document

may be redacted; and (iv) propose a specific date when the document will be unsealed.

   I.       IDENTITY OF THE DOCUMENT FILED UNDER TEMPORARY SEAL

         During the return of the Indictment in the above-captioned matter, the United

States moved to seal the Indictment, Doc. No. 1, and the Honorable David S. Doty

granted the motion to seal. On March 15, 2024, the United States filed a redacted copy

of the Indictment at Doc. No. 8.

         Count Two of the redacted Indictment reads as follows:

         The Grand Jury Charges:

                From in or around 2023 until the date of this Indictment, in the

         District of Minnesota,

                                  JERRY HAL SALITERMAN,

         did knowingly intimidate, threaten, and corruptly persuade REDACTED

         that if she did not keep her mouth shut, he would take her down with him

         and distribute sex tapes of her to her family with intent to hinder, delay and

         prevent REDACTED from communicating information to the FBI relating

         to the theft, concealment, and extortion of the ruby slippers, a federal

         offense in violation of Title 18, United States Code, Section 668,

                In violation of Title 18, United States Code, Section 1512(b)(3).

   II.      THE INDICTMENT, DOC. NO. 1, SHOULD REMAIN UNDER SEAL

         The Indictment discloses the name of the witness who was named as the target of

the tampering alleged in Count Two of the Indictment. Count Two describes an obscene

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threat to distribute private sexual images of a witness in this case if she spoke to the FBI

about her knowledge of the Defendant’s involvement in the theft and concealment of the

ruby slippers. The United States avers that even linking the witness’s name to the

existence of private sexual images would subject the witness to the kind of serious injury

that the Defendant threatened. Disclosure of her name invites ignominy and scandal,

effectuating the Defendant’s threat, thereby compounding the harm and potentially

dissuading the witness from disclosing information in this case.

       An indictment is sufficient if it, first, contains the elements of the offense charged

and fairly informs a defendant of the charge against which he must defend, and second,

enables him to plead an acquittal or conviction in bar of future prosecutions for the same

offense. United States v. Gay, 577 F.2d 465, 466 (8th Cir. 1978) (affirming a jury

conviction where the indictment charged an assault against “campers” and did not list

them by name). In this case, there is no concern about the Defendant having fair notice

of the charge if the publicly available Indictment is redacted. The Defendant has a copy

of the sealed indictment identifying the affected witness by name.

       The Eighth Circuit has upheld indictments that do not identify victims by name.

United States v. Evans, 272 F.3d 1069, 1084 (8th Cir. 2001). In Evans the indictment

did not list Mann Act victims by name, nor did the jury instructions. Id. In the case

involving the transportation of individuals in interstate commerce for prostitution, the

defendant complained that the jury instructions did not identify the victims. Id. at 1077

The Eighth Circuit affirmed the conviction while notifying it has upheld indictments that

do not describe victims by name at all. Id. at 1084.


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       Access to an indictment is protected by the First Amendment, and sealing names

can be sustained only if it “is necessitated by a compelling governmental interest, and is

narrowly tailored to serve that interest.” 776 F.2d 1104, 1112 (3d. Cir. 1985) (citing

Press-Enterprise v. Superior Court of California, 464 U.S. 501, 510 (1984)). Here, the

United States has a compelling interest in protecting the privacy and dignity of its

witnesses, and it has offered a narrowly-tailored solution. In Press-Enterprise, the press

sought access to a portion of a bill of particulars that was filed under seal and listed

unindicted co-conspirators. Id. at 1105. The Third Circuit held that the district court

narrowly tailored relief to protect the unindicted co-conspirators from predictable

reputational harm by prohibiting public access to the government’s list of co-conspirators

and would only disclose the names if they were subsequently indicted. Id. at 1114. The

court could not perceive a more restrained means to protect the individuals from the

threatened injuries. Id.

       The United States has a compelling interest in protecting victims from publicity of

their intimate sexual details. For example, Rule 412 of the Federal Rules of Criminal

Procedure “aims to safeguard the alleged victim against the invasion of privacy, potential

embarrassment and sexual stereotyping that is associated with public disclosure of

intimate sexual details and the infusion of sexual innuendo into the factfinding process.

By affording victims protection in most instances, the rule also encourages victims of

sexual misconduct to institute and to participate in legal proceedings against alleged

offenders.” Fed. R. Crim. P. 412 advisory committee’s note to 1994 amendments; see




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also United States v. Nix, 912 F.2d 982, 986 (8th Cir. 1990) (the purpose behind rule 412

is to protect the victim’s privacy and to encourage reporting of sexual assaults).

          Additionally, crime victims have the right to be treated with respect for the

victim’s dignity and privacy. 18 U.S.C. § 3771. This law enshrines the very interest the

United States seeks to protect here.

          In this case, the United States seeks the same restrained means used in Press-

Enterprise to protect the victim of the alleged witness tampering from predictable

reputational harm and invasion of privacy. By redacting the witness’s name, the public

has been informed of the totality of the alleged crime, while preserving the government’s

compelling interest in not exposing one of its witnesses to the very harm it is trying to

deter through criminal prosecution. Publication of the witness’s name would not only

have a chilling effect on this witness’s participation in this case, but it would potentially

chill other victims from participating in prosecutions where their privacy would be

violated.

   III.      THE INDICTMENT MAY BE REDACTED

          Redaction is the least restrictive means to protect the witness from harm to

reputation and privacy, and the United States has already filed a redacted copy of the

Indictment.

   IV.       A REDACTED INDICTMENT HAS ALREADY BEEN UNSEALED

          Because the redacted Indictment is already publicly available, the United States

requests that the sealed Indictment remain sealed so as not to identify the witness on

Pacer, which is widely accessible. Moreover, this case in particularly continues to draw

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nationwide attention, which would impact the witness’s privacy to a far greater extent

than the typical victim identified in an indictment.

   V.      CONCLUSION

   For the reasons stated herein, the United States requests the Court extend the Order

sealing the Indictment indefinitely.



        Dated: March 18, 2024

                                           MAC SCHNEIDER
                                           United States Attorney

                                   By:     ____________________________
                                           /s/ Matthew D. Greenley
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